                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                            3:11-CR-00337-RJC-DSC
USA,                                            )
                                                )
              Plaintiff,                        )
                                                )
   v.                                           )             ORDER
                                                )
DARRICK LEON JOHNSON,                           )
                                                )
              Defendant.                        )
                                                )

        THIS MATTER is before the Court upon the Government’s Motion to Dismiss, (Doc.

No. 230), the First Superseding Indictment, (Doc. No. 144), as to Darrick Leon Johnson without

prejudice.

        IT IS ORDERED that the Government’s motion, (Doc. No. 230), is GRANTED and the

First Superseding Indictment, (Doc. No. 144), is DISMISSED without prejudice as to Darrick

Leon Johnson only.



                                            Signed: July 3, 2013




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